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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-01417
         Michael A Ross

                    Debtor(s)


CHAPTER 13 STANDING TRUSTEE’S AMENDED FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/17/2014.

         2) The plan was confirmed on 04/10/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/13/2018.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 02/16/2018.

         6) Number of months from filing to last payment: 49.

         7) Number of months case was pending: 63.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $31,889.00.

         10) Amount of unsecured claims discharged without payment: $11,128.84.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor              $68,275.22
       Less amount refunded to debtor                        $26,640.65

NET RECEIPTS:                                                                                  $41,634.57


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $4,000.00
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                      $1,668.95
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $5,668.95

Attorney fees paid and disclosed by debtor:                    $0.00


Scheduled Creditors:
Creditor                                      Claim         Claim            Claim       Principal       Int.
Name                                Class   Scheduled      Asserted         Allowed        Paid         Paid
77TH ST DEPOT FEDERAL C U       Unsecured      3,844.00            NA              NA            0.00        0.00
77TH ST DEPOT FEDERAL C U       Unsecured      1,565.00            NA              NA            0.00        0.00
77TH ST DEPOT FEDERAL C U       Secured        1,000.00            NA         4,844.00      4,844.00      426.36
77TH ST DEPOT FEDERAL C U       Secured        1,000.00            NA         1,565.00      1,565.00      137.74
AMERICAN INFOSOURCE             Unsecured         906.31        970.75          970.75        970.75       52.64
CALUMET DERMATOLOGY ASSOC       Unsecured            NA          79.65           79.65          79.65        4.31
Cash Taxi                       Unsecured      1,058.84            NA              NA            0.00        0.00
Commonwealth Financial          Unsecured         290.00           NA              NA            0.00        0.00
COOK COUNTY TREASURER           Secured        2,157.79       2,157.79            0.00           0.00        0.00
IVANHOE DENTAL                  Unsecured         704.00        709.03          709.03        709.03       38.42
MCSI INC                        Unsecured          50.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured          50.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured          50.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured         100.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured         250.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured         250.00           NA              NA            0.00        0.00
MCSI INC                        Unsecured         250.00           NA              NA            0.00        0.00
MERCHANTS CREDIT GUIDE CO       Unsecured         622.00           NA              NA            0.00        0.00
MIDWEST TITLE LOANS             Secured           600.00           NA              NA            0.00        0.00
MRSI                            Unsecured      1,235.00            NA              NA            0.00        0.00
MUNICIPAL COLLECTIONS OF AMER   Unsecured         214.00           NA              NA            0.00        0.00
NICOR GAS                       Unsecured         808.95        480.16          480.16        480.16       26.04
Phoenix Management Sys          Unsecured         240.00           NA              NA            0.00        0.00
PREMIER BANK CARD               Unsecured         427.00        427.98          427.98        427.98       23.21
PREMIER BANK CARD               Unsecured         518.00        518.99          518.99        518.99       28.21
PRESTIGE FINANCIAL SVC          Unsecured      5,077.00            NA           164.21        164.21         8.98
PRESTIGE FINANCIAL SVC          Secured       17,500.00     22,741.21        22,577.00     22,577.00    1,987.22
Ridge Ortho Rehab.              Unsecured         960.00           NA              NA            0.00        0.00
SABRE GROUP                     Secured       23,200.00     11,121.04              NA            0.00        0.00
VERIZON                         Unsecured         866.00        849.69          849.69        849.69       46.03
Vision Fin                      Unsecured         100.00           NA              NA            0.00        0.00



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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                     $0.00              $0.00             $0.00
       Debt Secured by Vehicle                           $22,577.00         $22,577.00         $1,987.22
       All Other Secured                                  $6,409.00          $6,409.00           $564.10
 TOTAL SECURED:                                          $28,986.00         $28,986.00         $2,551.32

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $4,200.46          $4,200.46           $227.84


Disbursements:

         Expenses of Administration                             $5,668.95
         Disbursements to Creditors                            $35,965.62

TOTAL DISBURSEMENTS :                                                                      $41,634.57


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/16/2019                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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